     Case 2:85-cv-04544-DMG-AGR Document 1105 Filed 04/09/21 Page 1 of 5 Page ID
                                     #:42959


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15
                       UNITED STATES DISTRICT COURT
16                FOR THE CENTRAL DISTRICT OF CALIFORNIA
17
     JENNY LISETTE FLORES; et al.,           ) Case No. CV 85-4544
18                                           )
             Plaintiffs,                     ) DEFENDANTS’ APPLICATION FOR
19
                                             ) LEAVE TO FILE UNDER SEAL
20                v.                         ) PORTIONS OF JUVENILE
                                             ) COORDINATOR REPORTS
21
     MERRICK GARLAND, Attorney               )
22   General of the United States; et al.,   ) Hearing Date: Not Set
                                             ) Time:
23
             Defendants.                     ) Dept:
24                                           )
                                             )
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                                             )
26                                           )
     Case 2:85-cv-04544-DMG-AGR Document 1105 Filed 04/09/21 Page 2 of 5 Page ID
                                     #:42960


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           Defendants submit this Application seeking leave from the Court to file under
 2   seal portions of the Reports from the Juvenile Coordinators from U.S. Immigration
 3   and Customs Enforcement (“ICE”) and the U.S. Department of Health and Human
 4   Services (“HHS”), filed concurrently herewith, pursuant to Federal Rule of Civil
 5   Procedure 5.2(d) and Local Rule 79-5. As required by Local Rule 79-5.2.2(a),
 6   Defendants submit concurrently with this application the declaration of Sarah B.
 7   Fabian, a proposed order, and unredacted copies of the Reports. On April 9, 2021,
 8   counsel for Defendants contacted counsel for Plaintiffs, Peter Schey and Carlos
 9   Holguín, by email regarding Defendants’ proposed filing. At the time of filing of
10   this Application neither had responded to that email.
11         The materials that Defendants seek to seal are:
12             • Exhibit A to the Juvenile Coordinator Report of Deane Dougherty
13                (portions)
14             • Juvenile Coordinator Report of Aurora Miranda-Maese (portions)
15   Defendants seek to seal the first document because it contains personally identifiable
16   information regarding class members in ICE custody. Defendants seek to seal
17   portions of the second document that contain the names and identifying information
18   for ORR care providers because that information could potentially be used to
19   identify individuals who have tested positive for COVID-19, in violation of their
20   individual privacy rights. Given the potentially sensitive nature of the information
21   in these records, there is compelling reason to file them under seal in order to protect

22   the privacy of the individuals identified in these records and to avoid stigma or

23   embarrassment to those individuals.

24                                       ARGUMENT

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           “[T]he courts of this country recognize a general right to inspect and copy

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     public records and documents, including judicial records and documents.” Nixon v.

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     Case 2:85-cv-04544-DMG-AGR Document 1105 Filed 04/09/21 Page 3 of 5 Page ID
                                     #:42961


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     Warner Communications, Inc., 435 U.S. 589, 597 & n.7 (1978); see also Foltz v.
 2   State Farm Mutual Auto Insurance Comp., 331 F.3d 1124, 1134 (9th Cir.2003).
 3   Accordingly, the default rule is that “[a] party seeking to seal a judicial record . . .
 4   bears the burden of overcoming this strong presumption [in favor of access to court
 5   records] by meeting the ‘compelling reasons’ standard.” Kamakana v. City & Cty.
 6   Of Honolulu, 447 F.3d 1172, 1176 (9th Cir. 2006). Compelling reasons support
 7   sealing these portions of Defendants’ reports because they contain personal
 8   information regarding class members, and/or information that might lead the public
 9   to identify individuals who have tested positive for COVID-19 in ORR facilities.
10   Courts have recognized individuals’ interest in the protection of such information.
11   See Doe v. Beard, 63 F. Supp. 3d 1159, 1166 n.4 (C.D. Cal. 2014) (collecting cases).
12   Therefore, there is compelling reason to seal these materials to protect the privacy
13   interests of class members and staff at ORR facilities.
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     Case 2:85-cv-04544-DMG-AGR Document 1105 Filed 04/09/21 Page 4 of 5 Page ID
                                     #:42962


 1   DATED:     April 9, 2021          Respectfully submitted,
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 3                                     Acting Assistant Attorney General
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 6                                     Director, District Court Section
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                                       /s/ Sarah B. Fabian
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     Case 2:85-cv-04544-DMG-AGR Document 1105 Filed 04/09/21 Page 5 of 5 Page ID
                                     #:42963


 1                             CERTIFICATE OF SERVICE
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 3
           I hereby certify that on April 9, 2021, I served the foregoing pleading on all

 4   counsel of record by means of the District Clerk’s CM/ECF electronic filing
 5
     system. Documents associated with this filing that are proposed to be filed under
 6
     seal will further be served on Plaintiffs’ counsel of record by other means.
 7

 8

 9
                                                   /s/ Sarah B. Fabian
                                                   SARAH B. FABIAN
10                                                 U.S. Department of Justice
11
                                                   District Court Section
                                                   Office of Immigration Litigation
12
                                                   Attorney for Defendants
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